                       Case 1:24-cv-00991-LGS Document 8
                                                       7 Filed 02/13/24
                                                               02/12/24 Page 1 of 1

AO 440 (Rev. 12/09) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Southern District
                                                  __________  DistrictofofNew York
                                                                           __________

                     STELLA CICARONE
                                                                   )
                                                                   )
                             Plaintiff
                                                                   )
                                 v.                                )       Civil Action No. 1:24-cv-00991
           CENTER FOR GOODS, LLC d/b/a                             )
                                                                   )
           ROMAN AND WILLIAMS; ROMAN
                                                                   )
             AND WILLIAMS GUILD; LA
           MERCERIE AND GUILD GALLERY
              and ROBIN STANDEFER
                            Defendant


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ROBIN STANDEFER
                                         555 West 151 Street, Apt. 44
                                         New York, New York 10031




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jason L. Solotaroff
                                         Giskan, Solotaroff and Anderson
                                         90 Broad St, 2nd Floor
                                         New York, NY 10004



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT

               2/13/2024                                                                 /s/ P. Canales
Date:
                                                                                        Signature of Clerk or Deputy Clerk
